Case 3:21-cr-03198-AJB   Document 63-1 Filed 03/21/22   PageID.264   Page 1 of
                                      15




                United States v. Samantha Condes


              Case Number: 3:21-CR-3198-AJB-1




                                 Exhibits
Case 3:21-cr-03198-AJB   Document 63-1 Filed 03/21/22        PageID.265   Page 2 of
                                      15



                               Table of Contents



A.    Photos of Ms. Condes at her High School Graduation and with her family

 B.   Character Letter by neighbor and friend, Tiffany Law

 C.   Character Letter by friend, Patty Agregado

D.    Character Letter by family friend, Donald Robinson

 E.   Photos of Ms. Condes and the rescue dogs she adopted, Sooner and Buddy

 F.   Ms. Condes’ High School Diploma

G.    Ms. Condes’ High School Transcript with a 3.65 GPA

H.    Character Letter by former teacher, Matthew Colley
Case 3:21-cr-03198-AJB   Document 63-1 Filed 03/21/22   PageID.266   Page 3 of
                                      15




                                                                         Exhibit A-1
Case 3:21-cr-03198-AJB   Document 63-1 Filed 03/21/22   PageID.267   Page 4 of
                                      15




                                                                         Exhibit A-2
Case 3:21-cr-03198-AJB   Document 63-1 Filed 03/21/22   PageID.268   Page 5 of
                                      15




                                                                         Exhibit A-3
Case 3:21-cr-03198-AJB   Document 63-1 Filed 03/21/22   PageID.269   Page 6 of
                                      15




                                                                         Exhibit A-4
Case 3:21-cr-03198-AJB           Document 63-1 Filed 03/21/22            PageID.270       Page 7 of
                                              15



Tiffany Law
1606 Geneva Ave
San Francisco, CA 94134


March 10, 2022


To whom it may concern:


          This letter is on behalf of Samantha Condes. I have known Sam for almost three years
now, I am her neighbor and friend. Sam’s interpersonal abilities are without a match.


          Sam carries herself with an empathic demeanor that deserves to be recognized, often
paying attention to how one is feeling in the hopes of uplifting and assisting them; doing
whatever she can to meet one's needs. To give an instance, whenever a friend or I would go
through something distressing, she would offer her comfort and more to empathize with the
person.


          In addition to her connection with others, Sam has a great compassion and generosity
towards others. When you are in need, she will go out of her way to help you. One of our friends
wasn’t feeling their best self and got stuck in concord, Sam immediately dropped everything to
go aid her friend. She will always try to provide even when she isnt best suited for the situation.
There are many acts of kindness Sam has demonstrated, giving the homeless what she could,
financially supporting the people she cares about, etc.


          She has always cared for the people around her and that generosity is yet to be returned.
Sam always pushes others to be their best self, she brings out a light in others that can’t be
compared to. On my lowest days, she makes it all disappear.


          In summary I would offer my absolute highest reference on behalf of Samantha Condes
and it is my sincerest hope that this is taken into consideration. Despite this current case, Sam is




                                                                                                 Exhibit B-1
Case 3:21-cr-03198-AJB        Document 63-1 Filed 03/21/22        PageID.271      Page 8 of
                                           15



extremely valued in many communities, it would be a shame considering the magnanimity,
receptivity and more Sam has to offer.


Best Regards,




Tiffany Law
(415)-260-1170




                                                                                         Exhibit B-2
Case 3:21-cr-03198-AJB         Document 63-1 Filed 03/21/22            PageID.272       Page 9 of
                                            15


Sam and I haven’t seen each other physically for 4 years and maybe we don’t talk a lot
compared to before, but every time we catch up it’s like nothing happened. I still consider her as
one of my core best friends up to this day because there’s so much history between us. She
made it easier for me to discover myself and my personality and I don’t think she knows this but
her impact is still here with us. Now as we grew up, new characters came into our lives and
different countries but our protection and care for each other never changed. Out of everyone in
the world, I miss Sam the most.

She was the one who brought so much technicolor to my life and that still evolves up to this day.
I remember the first time I met Sam she was too shy to even look at me, but then as we grew up
together she told me that it was the people around her that shaped up her personality, but I
don’t think she realizes that we feel the exact same way for her. Sam became the root of the
people I surround myself with. She introduced me to the people I now consider as my close
loved ones including her. It’s only sad now because the person who started our whole friend
group is the one who is far away from us now.

People still talk about her, how she is and we always reminisce on how we all met each other
because of her. She was my partner in everything, I thought I would not be able to function well
when she left but she still did her best to reach out, to remind me that “There are new
characters, but you’re still my best friend”. Sam is the kind of person who would make or edit a
whole video of you talking about how much you mean to her. She is the type of person who
would stay late with you during dismissal in school until you are finally picked up. She’s the type
who would go to your classroom and wait for you during break time. She’s the type to call you at
4 am just to say that she missed you.

We protect each other so much it came to the point where when she left, I felt like I only had me
to protect. There are so many traits I appreciate about her. She would always make up stuff
that’s only for us to share. She would bring me to places and would say “This is our place now”.
It is so rare to find someone like Sam, she’s never sorry for loving too much. I realized how
much we grew up since now all she talks about is working, doing everything that makes her feel
alive, and the idea of who and where she wants to be in the future. I remember how I felt every
time I was with her, it felt like we had our own peace as we turn down the volume from the
outside world and just be. She was always the fun in our lives, the yellow person in our heads. I
could talk about her for days and not get sick of it, she’s memorable to everyone. She was with
me in my childhood and we make sure to leave that behind together as we grow up, not grow
apart.

-Patty Agregado




                                                                                           Exhibit C
   Case 3:21-cr-03198-AJB    Document 63-1        Filed 03/21/22   PageID.273   Page 10 of
                                             15

                                                                    January 20, 2022

Dear Sir/Madam:


When Roland asked if he could talk to me about a family problem I was shocked when
he told me what happened. I knew something wasn't quite right Samantha is a very
good student. She had a part time job at Starbucks coffee before. Starbucks moved.
She found another job at the Metropolitan Club. She received a prize from the Petco
after documenting her family adoption of two dogs Buddy and Sooner. When I go to
 visit my family, I ask Samantha and the Condes family to take care of my dog Lani.
 When I came back to Samantha, she cried because she was going to miss Lani.
 This is so unfortunate that a quality hard working family was taken advantage of.
 Roland, Lea and their 3 children are helpful to me. Samantha is a sweet hearted young
  person. I hope my letter helps in the decision based on her solid history and my
 wanting to write this letter on her behalf.


Sincerely,


�I�




                             (




                                                                                  Exhibit D
Case 3:21-cr-03198-AJB    Document 63-1        Filed 03/21/22   PageID.274    Page 11 of
                                          15




             Ms. Condes and her family with their newly adopted rescue dogs




                                   Sooner and Buddy




                  Ms. Condes’ dog, Sooner, on the 2019 Petco calendar

                                                                                      Exhibit E
                          Case 3:21-cr-03198-AJB   Document 63-1        Filed 03/21/22   PageID.275   Page 12 of
                                                                   15




      �
      �
      �
      �
      �
      �



,,�
              /,an Jlfrancisrn                                                                                     dtalifnr1tia




      v� c__
          juperhdtnhtn±
                                                                                                                           Jrinripal
                                                                                                                                       Exhibit F
                                 Case 3:21-cr-03198-AJB                Document 63-1             Filed 03/21/22           PageID.276        Page 13 of
                                                                                            15

Student Name
 Condes, Samantha S.                                                               San Francisco                                     O'Connell (John) HS
                                                                                 O'Connell (John} HS                                  2355 Folsom St
Perm ID               State ID                Grd         Gen



                                                                                    Li.J
                                                                                                                                      San Francisco, CA 94110
 20070853              8166006268              12          F
Date Of Birth                 Phone
  09/15/2002                      415-694-1151                                                                                       Phone                         Fax
                                                                                                                                       415-695-5370                    415-695-5379
Home Address
248 Parque Dr                                                                                                                        Counselor
San Francisco, CA 94134                                                 San Francisco Unified School District                          DeHaro, Leslie


   Course Title                       Mark       Crad Att/Cmp        Course Title                        Mark        Crad Att/Cmp       Course TIiie                      Mark      Crod Att/Cmp
                  O'Connell John HS                                                  O'Connell John HS                                                 O"Connell John HS
   Yr: 2017            Month: 12             Grade:   9              Yr: 2018             Month: 12              Grade:   10           Yr: 2020             Month: 6           Grade:    11
    Advisory                         A       0.00/0.00                 Math Lab                           B            1.25/1.25         CCSS Algebra 2                      CR       5.00/5.00
    CCSS Algebra 1                   B       5.00/5.00                 Principles of NGSS Physics         A            5.00/ 5.00        American lit                        CR       5.00/5.00
    Biology                          A       5 .00/5.00                Spanish 1                          B            5.00/ 5.00        NGSS Chemistry                      CR       50. 0/5 .00
    Comm & Writing                   A       1.25/1.25              Cred Att: 35.00       Cred Cmo: 35.00           GPA: 3.75            College/Career                      CR       2.50/ 2.50
    ELD E�panding RW                 A       5.00 I 5.00                              O'Connell John HS                                  Economics                           CR       5.00 I 5.00
    English 1                        A       5.00/5.00               Yr: 2019             Month: 6               Grade:   10             EHS 1: Agnts of Chnge               CR       5 .00/5.00
    Health                           A       2.50 /2.50               Advisory                               B         0.00 I 0.00       AP Eng Lit Comp                     CR       50 . 0/5 .00
    Math Lab                         C       1.25/1.25                 College/Career                        A         5.00/ 5.00        Spanish 2                           CR       50 . 0/5.00
    PE 1                             B       5.00/5.00                 Comm & Writing                                  1.25 /1.25        Work Based Leaming                  CR       0.00 I 0.00
                                                                                                             A
    World Histo                      A       5.00/5.00                English 2                                        5.00/ 5.00        XL CCSF                             CR       5.00/5.00
                                                                                                             A
  Cred Att: 35.00    Crod Cmo: 35.00      GPA: 3.64                    Ethnic Studies                        A         5.00/ 5.00        XL CCSF                             CR       5.00/5.00
                  O'Connell John HS                                    Fit for Life 2                        A         5.00/ 5.00        XL CCSF                             CR       0.00 I 0.00
   Yr: 2018           Month: 6         Grade: 9                                                                                        Cred Att: 47.50     Cred Cmo: 47.50         GPA: 0.00
                                                                       CCSS Geometry                         A         5.00/ 5.00
    Advisory                             A         0.00 I 0.00         Math Lab                              A         1.25 / 1.25                     Work In Prooress
    CCSS Algebra 1                       A         5.00/5.00           Principles of NGSS Physics            A         5.00/ 5.00                      O"Connell John HS
    Biology                              A         5.00/5.00           Spanish 1                             B         5.00/ 5.00       Yr: 2020           Month: 12     Grade:          12
    CritThnk/SocChg                      A         2.50 /2.50       Cred Att: 37.50       r.r•rt r.mn· 37.50        GPA· 3.87             Advisory                                    1.25 /0.00
     ELD Advanced LS                     A         5.00/5.00                          O'Connell John HS                                   AME Cncpt Career                            5.00 I 0.00
    English 1                            A         5.00/5.00         Yr: 2019             Month: 12              Grade:   11             AP Biology                                   5.00 I 0.00
    Health                               A         2.50/2.50           Amer Democ                                      5.00/ 5.00        College/Career                               1.25 /0.00
                                                                                                            B
     Math Lab                            B         1.25/1.25           CCSS Algebra 2                       A          5.00/ 5.00         Ed Human Serv 2                             5.00 I 0.00
    PE 1                                 A         5.00/5.00           American Lit                                    5.00/ 5.00         Ed Human Serv 2                             1.25/0.00
                                                                                                            B
    World Histo                          A         5.00/5.00           NGSS Chemistry                       B          5.00/ 5.00        Eng/Euro Lit                                 5.00 I 0.00
  Cred Att: 36.25    Crod Cmo: 36.25            GPA: 3.97
                                                                       College/Career                       A          2.50 /2.50        Prob & Stat                                  5.00 I 0.00
                  O'Connell John HS                                    EHS 1: Agnts of Chnge                C          5.00/ 5.00        US Histo                                     50.0 I 00.0
   Yr: 2018           Month: 12     Grade:            10               AP Eng Lit Comp                      C          5.00/ 5.00      Cred Att: 33.75     Cred Cmo:               GPA:
    Advisory                              A        0.00/0.00           Spanish 2                            A          5.00/ 5.00                      O"Connell John HS
    Comm & Writing                        A        1.25/1.25           Wort< Based Leaming                  A          0.00 I 0.00     Yr: 2021             Month: 6           Grade:    12
    CritThnk/SocChg                       B        2.50/2.50           XL CCSF                              B          5.00/ 5.00        Advisory                                      1.25 /0.00
    English 2                             A        5.00/5.00           XL CCSF                              B          5.00/ 5.00        AME Cncpt Career                              5.00 I 0.00
    Ethnic Studies                        A        5.00/5.00           XL CCSF                              B          0.00 /0.00        AP Biology                                    5.00 I 0.00
    Fit for Life 2                        A        5.00/5.00        r.rod Att• 47.50     Cred Cmo: 47.50            GPA: 3.05            College/Career                                1.25 /0.00
    CCSS Geometry                         A        5.00/5.00                                                                             Ed Human Serv 2                               5.00 I 0.00
                                   Continued on next column ...                                                                                                          Continued on next page ...




                  GPA SUMMARY                                                                                                  NOTES
!.!nwglgh!g!!                �glgh!g!!
Cumulative -          3.62   Cumulative -             3.65




                                                                  Enter Date        Leave Date                                              Graduation Date
                                                                    08/16/2010                                                                                          Class of 2021




            The transcript is unofficial unless signed by a school                                                                                                               10/01/2020
                      Registrar or Principal and includes a seal.
                                                                                                                                                                                      Page 1 of 2




                                                                                                                                                                       Exhibit G-1
21-cr-03198-AJB   Document 63-1        Filed 03/21/22   PageID.277   Pa
                                  15




                                                          Exhibit G-2
Case 3:21-cr-03198-AJB        Document 63-1          Filed 03/21/22    PageID.278       Page 15 of
                                                15




                                           2355 Folsom Street, San Francisco CA 94110

11 November, 2021

To whom it may concern:

I am writing this letter on behalf of Samantha Condes. I have known Sam for four years and I
first met her when she was a student in my Ethnic Studies class at John O’Connell High School
in the fall of 2018. I continued to have Sam as a student in her Junior and Senior year when she
was in the Public Service Pathway. I have always known Sam to be a conscientious,
hard-working, and thoughtful young person. She was a very strong student in our Pathway and
worked hard to do her best on all her school assignments and projects.

In class, Sam was a strong participant. She worked well with others and was often a leader in
small groups. She also contributed to whole class discussion by sharing her insights and asking
critical questions. Her participation frequently elevated the learning and understanding of the
whole class.

In her work, Sam always advocated for what she thought was right. For example, she
participated in a voter registration drive on campus to encourage and support her peers to
pre-register to vote. Additionally, she completed projects advocating for gun control in order to
help keep teens safe. Her hard work earned her A’s and B’s in her classes and a 3.65 GPA
overall. She graduated from John O’Connell in the Spring of 2021. She was eligible to apply to
four year universities and she was admitted to San Francisco State University. Unfortunately,
she was unable to afford the tuition. However, she did not let this barrier stop her from pursuing
her education. After she graduated, she enrolled in City College of San Francisco with the
intention of completing her general education credits and transferring to a four year university.

Sam is a bright and intelligent young person. She is interested in studying film and becoming a
documentary filmmaker. I have always known Sam to be an upright individual who thinks of
others and tries to do the right thing. She is a valued member of our community and I believe
she will continue to be a positive, engaged, and contributing community member.

Sincerely,




Matthew Colley
Teacher
Public Service Pathway




                                                                                            Exhibit H
